Entered: January 26th, 2017
                              Case 17-10111         Doc 20    Filed 01/26/17       Page 1 of 1
Signed: January 25th, 2017

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                       In re:   Case No.: 17−10111 − WIL      Chapter: 7

      Natieya Davis
      Debtor(s)

           ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED
         FOR FAILURE TO PAY FILING FEE AND OPPORTUNITY FOR HEARING
Installments of filing fees that are due in accordance with an Order of this Court are unpaid and overdue, as follows:

                              Due Date                                    Amount
                              1/20/2017                    balance of initial installment {$22.75}



It is therefore, by the United States Bankruptcy Court for the District of Maryland,

ORDERED, that the Debtor(s) show cause, if there is any, within fourteen (14) days after the date of entry of this
Order, in a writing filed with the Clerk of the Bankruptcy Court, why this case should not be dismissed for failure to
pay the filing fee. Full payment of the balance of the filing fee in the sum of balance of initial installment − $22.75,
by the same date shall dissolve this Order. Failure to make these payments within the time allowed, or failure to show
cause which the Court considers adequate, or to request a hearing may result in dismissal of this case without further
notice, and refund of attorney's fees for failure to comply with Federal Bankruptcy Rule 1006(b)(3).


NOTE: Pursuant to Local Bankruptcy Rule 1006−1(a), the Clerk will only accept payment from Debtor(s) in the
      form of cash, cashier's check, certified check, negotiable money order, or a check drawn on the account of
      Debtor(s)' attorney of record. Payments should be made payable to Clerk, U.S. Bankruptcy Court.

cc:     Debtor(s)
        Attorney(s) for Debtor(s) − PRO SE
        Case Trustee − Roger Schlossberg
        U.S. Trustee
        Finance

                                                       End of Order
23x01 (rev. 03/06/2015) − jwhitfield
